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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SAMUEL RICARLOS MITCHELL, JR.,
                                 Plaintiff,

                     -against-                             Case No. 1:23-cv-01932 (JLR)

 PLANNED PARENTHOOD OF GREATER                             NOTICE OF INITIAL
 NEW YORK, INC., et al.,                                   CONFERENCE

                                 Defendants.


JENNIFER L. ROCHON, United States District Judge:
        This case has been assigned to me for all purposes. Pursuant to the Southern District of
New York’s Second Amended Standing Administrative Order of October 1, 2015 regarding
employment discrimination cases, this case will be designated for automatic referral under the
Court’s existing Alternative Dispute Resolution program of mediation after the answer is filed.
In addition, initial discovery in this case shall be conducted in accordance with the Pilot
Discovery Protocols for Counseled Employment Cases.

        IT IS HEREBY ORDERED that if the Southern District mediation process is
unsuccessful, counsel for all parties shall appear for an initial pretrial conference with the Court
on July 11, 2023 at 2:30 p.m. Absent leave of Court obtained by letter-motion filed before the
conference, all pretrial conferences must be attended by the attorney who will serve as principal
trial counsel.

       All counsel must familiarize themselves with the Court’s Individual Rules, which
are available at https://www.nysd.uscourts.gov/hon-jennifer-l-rochon. All parties are
required to register promptly as filing users on ECF.

        Counsel are directed to confer with each other prior to the conference regarding
settlement and each of the other subjects to be considered at a Federal Rule of Civil Procedure 16
conference. Additionally, in accordance with Paragraph 2.D of the Court’s Individual Rules and
Practices, the parties are hereby ORDERED to file on ECF a joint letter, described below, as
well as a proposed Civil Case Management Plan and Scheduling Order attached as an exhibit to
the joint letter, no later than seven calendar days before the conference date. The parties shall
use this Court’s form Proposed Civil Case Management Plan and Scheduling Order, which is
also available at https://www.nysd.uscourts.gov/hon-jennifer-l-rochon. Any open legal issues
can be addressed at the conference.
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       The joint letter shall not exceed three (3) pages, and shall provide the following
information in separate paragraphs:

       (1)      A brief statement of the nature of the action and the principal defenses, and the
                major legal and factual issues that are most important to resolving the case,
                whether by trial, settlement or dispositive motion;

       (2)      A brief explanation of why jurisdiction and venue lie in this Court. In any action
                in which subject matter jurisdiction is founded on diversity of citizenship pursuant
                to Title 28, United States Code, Section 1332, the letter must explain the basis for
                the parties’ belief that diversity of citizenship exists. Where any party is a
                corporation, the letter shall state both the place of incorporation and the principal
                place of business. In cases where any party is a partnership, limited partnership,
                limited liability company, or trust, the letter shall state the citizenship of each of
                the entity’s members, shareholders, partners, and/or trustees. See, e.g.,
                Handelsman v. Bedford Vill. Assocs. L.P., 213 F.3d 48 (2d Cir. 2000). If this
                information is lengthy, it may be included in an Appendix to the letter, not to be
                included in the page limit.

       (3)      A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)      A brief description of any outstanding motions;

       (5)      A brief description of any discovery that has already taken place and of any
                discovery that is necessary for the parties to engage in meaningful settlement
                negotiations;

       (6)      A brief description of the status of prior settlement discussions, without disclosing
                exact offers and demands;

       (7)      A statement confirming that the parties have discussed the use of alternate dispute
                resolution mechanisms and indicating whether the parties believe that (a) a
                settlement conference before a Magistrate Judge; (b) participation in the District’s
                Mediation Program; and/or (c) retention of a privately retained mediator would be
                appropriate and, if so, when in the case (e.g., within the next sixty days; after the
                deposition of plaintiff is completed; after the close of fact discovery; etc.) the use
                of such a mechanism would be appropriate; and

       (8)      Any other information that the parties believe may assist the Court in advancing
                the case to settlement or trial, including, but not limited to, a description of any
                dispositive issue or novel issue raised by the case.


        If this case has been settled or otherwise terminated, counsel are not required to submit
such a letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or
other proof of termination is filed on the docket prior to the date of the conference, using the
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appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A,
available at https://www.nysd.uscourts.gov/electronic-case-filing.

        In accordance with the Court’s Individual Rules and Practices, requests for an extension
or adjournment may be made only by letter-motion filed on ECF and must be received at least 48
hours before the deadline or conference. The written submission must state (1) the original
date(s); (2) the number of previous requests for adjournment or extension; (3) whether these
previous requests were granted or denied; (4) whether the adversary consents and, if not, the
reasons given by the adversary for refusing to consent; and (5) the date of the parties’ next
scheduled appearance before the Court. Unless counsel are notified that the conference has been
adjourned, it will be held as scheduled.

        Counsel who have entered a notice of appearance as of the issuance of this order are
directed (1) to notify counsel for all other parties in this action who have not yet appeared
by serving upon each of them a copy of this order and the Court’s Individual Rules and
Practices forthwith, and (2) to file proof of such notice with the Court. If unaware of the
identity of counsel for any of the parties, counsel receiving this order must forthwith send a copy
of this order and the Court’s Individual Rules and Practices to that party personally.

Dated: March 16, 2023
       New York, New York

                                                              SO ORDERED.



                                                              JENNIFER L. ROCHON
                                                              United States District Judge
